          Case 2:20-cv-00541-JAM-AC Document 18 Filed 06/16/20 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




                                                           JUDGMENT IN A CIVIL CASE

MARK AUSSIEKER,

                                                         CASE NO: 2:20−CV−00541−JAM−AC
                   v.

360 DIGITAL MARKETING LLC, ET AL.,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:

    IT IS ORDERED AND ADJUDGED

       THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
       COURT'S ORDER FILED ON 6/16/2020




                                                      Keith Holland
                                                      Clerk of Court


   ENTERED: June 16, 2020


                                    by: /s/ A. Coll
                                                          Deputy Clerk
